Case 1:10-cr-OO746-LY Document 2 Filed 11/15/10 Page 1 of 1

AO 442 (Rev. 0]/09) ArrestWarrant

 

UNITED STATES DIsTchr CoURT

for the

Western District of Texas

United States of America

 

v. ) \
uARiA DEL RosARlo RoDRiGuEZ § Case NO_ /,} .//6 //’)// - §§ ;7(,;
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before_a United States magistrate judge without unnecessary delay

(nm"€ OfP€"SOH IO be arr€SI€d) l\/IARIA DEL ROSAR|O RODR|GUEZ z
who is accused of an offense or violation based on the following document filed with the court1

 

lj Indictrrient CI Superseding lndictment lj lnformation ij Superseding lnformation d Cornplaint
l:l Probatiou Violation Petition [] Supervised Release Violation Petition leiolation Notice [J Order of the Court

This offense is briefly described as follows:

Willful|y, knowingly and With intent to deceive, falsely represent a number to be the social security account number
assigned by the Commissioner of Social Security to her, When in fact such number is not the social security account
number assigned by the Commissioner of Socia| Security to her, in violation of Title 42, United States Code, Section 408
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Date: ii !` § 6 \\WO "~`-~,,,M

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ciiyandsiaie; Av§»r¢.t fix U-S- MAG!STRATE JuDGl-:

Prl`nled name and title

 

 

 

 

Return

 

 

This warrant was received on (daze) , and the person was arrested on (dare)
al ( city and state)

 

Date:

 

Arresting ojj‘icer `s signature

 

Printed name and title

 

 

